
PER CURIAM.
We have for review a decision of the First District Court of Appeal certifying the following question to be one of great public importance:
DOES THE FAILURE OF THE TRIAL COURT TO ORALLY PRONOUNCE EACH STATUTORILY AUTHORIZED COST INDIVIDUALLY AT THE TIME OF SENTENCING CONSTITUTE FUNDAMENTAL ERROR?
Tibbs v. State, 745 So.2d 1144 (Fla. 1st DCA 1999). We have jurisdiction. See art. V, § 3(b)(4), Fla. Const. For the reasons expressed in our opinion in Maddox v. State, 760 So.2d 89 (Fla.2000), we answer the certified question in the negative. We approve the decision below and find that the unpreserved sentencing errors asserted in this case do not constitute fundamental error.
It is so ordered.
HARDING, C.J., and SHAW, WELLS, ANSTEAD, PARIENTE, LEWIS and QUINCE, JJ., concur.
